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Government L_] UNITED STATES OF AMERICA

 

 

 

Plaintiff [] VS. Civil/Criminal No. 21-291-1 (ABJ)
Defendant Lv] THOMAS F. SIBICK
Joint [|]
Court []
EXHIBIT DESCRIPTION OF EXHIBITS MARKED RECEIVED WITNESS EXHIBITS
NUMBER FOR I.D. IN SENT INTO
EVIDENCE JURY

(date & time)

 

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Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia

 

 

 

 

 

 

 

 

 

 

 

 

 

 
